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10
                              NORTHERN DISTRICT OF CALIFORNIA
11
                                      SAN FRANCISCO DIVISION
12

13

14   ILLUMINA, INC.,                                Case No. 3:20-cv-01465-WHO
     ILLUMINA CAMBRIDGE LTD.,
15
                                  Plaintiffs,       PLAINTIFFS’ RESPONSE TO
16                                                  DEFENDANTS’ ADMINISTRATIVE
           vs.                                      MOTION REQUESTING LEAVE TO
17                                                  FILE A SUPPLEMENTAL
     BGI GENOMICS CO., LTD.,                        SUBMISSION REGARDING ISSUES
18   BGI AMERICAS CORP.,                            RAISED DURING THE PRELIMINARY
     MGI TECH CO., LTD.,                            INJUNCTION HEARING
19   MGI AMERICAS, INC. and
                                                    Judge:      Honorable William H. Orrick
     COMPLETE GENOMICS, INC.,
20
                                  Defendants.
21

22   COMPLETE GENOMICS INC.,

23                Counterclaim-Plaintiff,

24        v.

25   ILLUMINA, INC., and
     ILLUMINA CAMBRIDGE LTD.,
26
                  Counterclaim-Defendants.
27

28

     PLAINTIFFS’ RESPONSE TO DEFENDANTS’                          CASE NO. 3:20-cv-01465-WHO
     ADMINISTRATIVE MOTION REQUESTING LEAVE TO
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 1          Pursuant to the Court’s direction at the May 19, 2020 claim construction hearing in related

 2   matter 19-cv-03770-WHO (“Case 3770”), Illumina, Inc. and Illumina Cambridge Ltd. (“Illumina”)

 3   submit this response to Defendants’ (“BGI’s”) Administrative Motion. (D.N. 95).

 4         I.      BGI HAS FAILED TO SHOW GOOD CAUSE

 5          BGI’s attempt to establish good cause to file its fourth submission and sixth witness

 6   declaration in opposition to Illumina’s preliminary injunction fails. BGI primarily argues that the

 7   Court invited this additional submission because “the Court indicated that additional explanation of

 8   certain issues would aid the Court in reaching a determination” and “the Court stated that additional

 9   information would be helpful to clarify Defendants’ non-infringement position.” D.N. 95-2 at 1:1-

10   4. Illumina has no further information beyond what is included in BGI’s terse motion because BGI

11   violated L.R. 7-11(a), which required a meet and confer before filing this motion.

12          To try to show good cause for its additional infringement arguments, BGI’s motion relies on

13   a segment of the May 11 preliminary injunction hearing in which BGI’s counsel cryptically

14   suggested that, under the Court’s tentative grant of the preliminary injunction, BGI could potentially

15   modify its product documentation or limit the uses of its product to skirt an injunction. Case 3770,

16   D.N. 161 (hearing transcript) at 14:3-7 (“Because based on your tentative, it seems like our product

17   could be released in a way that would not infringe under Your Honor's ruling as long as we were

18   explicit in our instructions for use and did not exploit the multiple possible uses of the product.”).

19          The Court understandably responded that any such new circumstances were not before it.

20   Id. at 14:15-19. BGI’s proposed supplement does not address new circumstances such as proposed

21   changes to product documentation or limits on the workings of its product – which was the subject

22   of the Court’s interchange with BGI’s counsel at 14:1-19. Instead, BGI merely rewrites non-

23   infringement arguments it has already made and that have not improved with age or repetition.

24          Secondarily, BGI argues that there is good cause for it to reargue irreparable harm because

25   of the Court’s question about whether a US injunction would cause harm elsewhere. Id. at 61:22-

26   62:24. BGI’s counsel squarely confirmed that BGI is “not claiming that there’s going to be unique

27   harm overseas based on what Your Honor does in this country.” Id. at 62:21-23. The supplemental

28   submission from new counsel simply counters the plain answer provided by BGI’s original counsel.
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 1          BGI fails to establish good cause because it has had ample opportunity to present its

 2   positions. The Court already granted BGI: (1) an expanded opportunity to oppose the motion with

 3   extra pages for briefing and to submit five witness declarations, (2) leave to file a surreply with eight

 4   additional exhibits, (3) consideration of a 136 slide presentation that the Court reviewed before the

 5   hearing that included new material about how BGI’s products supposedly work that is repeated in

 6   its supplemental declaration, and (4) an extended oral argument. That is enough.

 7         II.     BGI’S ARGUMENTS ARE WEAK, EVEN IF CONSIDERED

 8          If BGI’s arguments repeated in its supplemental submission were so meritorious, BGI would

 9   not have waited until its fourth submission to emphasize them and would have offered expert

10   witness support from the outset. Regardless, the more BGI’s arguments are analyzed, the more their

11   weakness is exposed, as demonstrated below.

12                 A.      BGI’s “Introduction” Non-Infringement Argument Still Fails

13          BGI argues that CoolMPS does not involve removal of the azido blocking group “prior to

14   introduction of the next complementary nucleotide,” as required by Claim 13 of the ’973 Patent.

15          BGI’s non-infringement argument attempts to capitalize mischievously on a “wash step”

16   that BGI may use. Basically, between cycles of adding a nucleotide to a growing polynucleotide

17   using Illumina’s patented azido blocking group approach, BGI is positing that it may use a wash

18   step using copies of the four different types of nucleotide to remove antibodies. These “wash

19   nucleotides” are allegedly only for cleaning and are never added to the growing DNA chain.

20          BGI contends that this wash step avoids infringement because the wash nucleotides must be

21   considered the claimed “next complementary nucleotide.” BGI argues that the wash nucleotides are

22   introduced while the blocking group is still on the last nucleotide in the DNA chain because they

23   are never intended to be part of the DNA chain and thus the claim is unsatisfied.

24          BGI’s argument conflicts with the sensible reading of Claim 1 of the ’973 Patent. The wash

25   nucleotides are not the claimed “next complementary nucleotide.” At the heart of the claimed

26   method is “monitoring the sequential incorporation of complementary nucleotides.” See D.N. 1-1

27   at 86:25-26. The “next complementary nucleotide” that is the subject of the introducing step refers

28   back to these monitored complementary nucleotides that are sequentially incorporated into the DNA
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 1   chain, which is certainly present in CoolMPS. Id. at 86:55-56. In patent parlance, the monitored

 2   “complementary nucleotides” being incorporated in the DNA chain sequentially are the antecedent

 3   basis for “the next complementary nucleotide.” See Phonometrics, Inc. v. Northern Telecom Inc.,

 4   133 F.3d 1459, 1465 (Fed. Cir. 1998) (“A word or phrase used consistently throughout a claim

 5   should be interpreted consistently”); Promos Technologies, Inc. v. Samsung Electronics Co., Ltd.,

 6   Nos. 2019-1343, 1344, 2020 WL 1672838, at *11 (Fed. Cir. Apr. 6, 2020) (“The ‘phase difference’

 7   determined in the first step is the antecedent for the ‘phase difference’ in the subsequent steps, and

 8   thus the claim term should be construed to have a consistent meaning”).

 9          Even though Illumina explained this compelling point at the preliminary injunction hearing

10   (Case 3770, D.N. 161 at 33-34), BGI’s fourth submission still does not address the manifest

11   relationship between the claim phrases “monitoring the sequential incorporation of complementary

12   nucleotides” and “the next complementary nucleotide.” BGI’s silence amidst so many words

13   speaks volumes.

14          The wash nucleotides are not “sequentially incorporated” into the DNA chain. They only

15   clean antibodies and thus they are not even eligible to be the “next complementary nucleotide” in

16   the claim. They are washed away before incorporation occurs. They also are not “complementary”

17   nucleotides because they never hybridize (attach) to a complementary nucleotide as part of the

18   sequential incorporation process. The mere fact of being a nucleotide does not qualify every

19   nucleotide as being a complementary nucleotide. Only those that are part of the growing chain in

20   the sequencing by synthesis process are the complementary nucleotides of the claim.

21          BGI argues that for every wash step its mix of wash nucleotides include all four types of

22   nucleotides A, C, T and G. The coincidence that the actual “next complementary nucleotide” that

23   is part of “the sequential incorporation of complementary nucleotides” may also be an A, C, T or G

24   nucleotide cannot render the wash nucleotides to be the “next complementary nucleotide.” Such a

25   superficial argument neglects that the physical “next complementary nucleotide” that is sequentially

26   incorporated in the DNA chain is a different physical molecule than BGI’s wash nucleotides.

27          BGI’s argument also conflicts with the meaning of “introduction” in the ’973 Patent. In the

28   specification, “introduction” in the relevant context is used to refer to the introduction of the
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 1   nucleotide into the growing DNA chain. The patent expressly refers to “incorporation” of a blocked

 2   nucleotide as “blocking” the “introduction” of the next nucleotide into the growing chain. See D.N.

 3   1-1 at 4:47-55. Claim 11 of the ’444 Patent also shows the patent uses the term “introduction” to

 4   mean introduction into the growing chain.          BGI argues that, in the context of the claim,

 5   “introduction” means only introduction into the mixture. But there is no context to support BGI’s

 6   “mixture” argument. As shown above, the nucleotides of the claim are introduced into the growing

 7   chain, not into the mixture for an ancillary use such as cleaning.

 8          Moreover, BGI’s admission that the term “introduction” can indeed be used to refer to

 9   introducing a modified nucleotide into the growing DNA chain undermines its central argument.

10   BGI’s central argument has been that “introduction” must mean something other than introduction

11   into the growing chain because otherwise it would be inexplicably duplicative of the word

12   “incorporate,” which is also used in the patent. BGI’s admission that the patent repeatedly does

13   exactly that in the patent outside Claim 1 eliminates its argument that the term cannot be understood

14   that way in this patent as a matter of rigid grammatical consistency.

15          Finally, instead of relying on the uses of “introducing” relevant to the modified nucleotides

16   of the patent, BGI is reduced to relying on the use of the term “introduced” as it relates to palladium

17   salts or phosphines, which is totally off-base. These uses of the term are remote from the core

18   claimed concept of modified nucleotides being introduced into the growing DNA chain and are thus

19   unhelpful to the analysis. BGI’s only non-infringement argument on the ’973 patent lacks merit,

20   which helps explain why BGI instructed its technical experts to steer clear of the issue from the start

21   and why it still has not submitted a non-infringement expert opinion.

22                 B.      BGI’s “Introduction” Argument Ignores The ‘444 Patent

23          BGI ignores its straightforward infringement of the ’444 Patent. Infringement of that patent

24   is an independent basis to support the preliminary injunction and BGI does not even assert its

25   “introduction” argument for that patent. Despite another opportunity to submit evidence, BGI still

26   does not submit an expert opinion alleging non-infringement of the ’444 Patent. Nor does it identify

27   a claim term in the ’444 Patent that is not satisfied.

28          Dr. Burgess explained – without challenge – that, when applying Claim 3, the presence of
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 1   an azidomethyl blocking group establishes that Z is satisfied and the remaining requirements of

 2   Claim 1 relating to R″ are inapplicable. D.N. 13 (Burgess Decl.) at ¶42 (“Because Illumina is solely

 3   asserting claim 3, which does not require R″, structures (1) through (4) do not require analysis here.

 4   Accordingly, claim 1’s additional description about R″ and the structures (1) through (4) that contain

 5   R″ similarly does not require analysis here.”).

 6          BGI’s expert contradicts BGI’s insinuation that maybe an R″ related limitation might not be

 7   satisfied. His prior art analysis literally relies on (and quotes approvingly) Dr. Burgess’s testimony

 8   that when using the azido of Claim 3, the R″ related elements of Claim 1 are not even applicable.

 9   D.N. 57-3 (Sutherland Decl.) at 48. This explains why BGI’s expert admits that when azidomethyl

10   is the option for Z in Claim 1, as required by Claim 3, the requirement of Z is met without more.

11   D.N. 76-5 (Sutherland Depo.) at 54:3-9 (“Z in the context of claim 1 is an azidomethyl, if you’re

12   applying claim 3”).

13                 C.      BGI’s Attempt To Recant Its KOL Admission Should Be Rejected

14          BGI argues that it will be harmed if it cannot sell its infringing products to KOLs in the

15   United States because that will harm it outside the United States. That is the opposite of what BGI’s

16   original counsel told this Court upon specific questioning at the preliminary injunction hearing.

17   Case 3770, D.N. 161 at 61-62.        BGI’s retention of new counsel should not protract these

18   proceedings, as the positions of prior counsel are second-guessed. Regardless, BGI should not be

19   using United States infringement to harm Illumina commercially anywhere in the world. In

20   addition, there are many KOLs outside the United States, including in Canada, Shenzen, Singapore,

21   and Beijing. D.N. 75-10 (Smith Depo.) at 43:6-45:4; D.N. 75-12 (Rogers Depo.) at 86:14-24; 88:11-

22   17. BGI’s supplemental evidence fails to explain in any meaningful way why those KOLs are not

23   good enough for BGI. And BGI’s argument is flatly inconsistent with its brag that it has placed

24   1,600 systems with 460 customers in 38 countries – without any United States KOL placements.

25                                                     ***

26          Finally, on May 20, 2020, the Federal Circuit issued McRO, Inc. v. Bandai Namco Games

27   America Inc., Appeal No. 2019-1557, Doc. 88 (Fed. Cir.). That case supports this Court’s

28   enablement analysis in its tentative ruling and is worthy of review.
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